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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Lexington Insurance Company
                                               Plaintiff,
v.                                                            Case No.: 1:21−cv−04398
                                                              Honorable John J. Tharp Jr.
Blue Cross and Blue Shield Association.
                                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, October 5, 2021:


        MINUTE entry before the Honorable John J. Tharp, Jr:Upon receipt of the
plaintiff's notice for voluntary dismissal [6] and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i),
this matter is concluded. Civil Case Terminated. Mailed notice(air, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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